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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9    UNITED STATES OF AMERICA,
10                  Plaintiff,
11                                                         Case No. CR04-093L
             v.
12
                                                           ORDER REGARDING MOTION FOR
      MARTIN MEDINA,                                       BRADY MATERIAL
13
                    Defendant.
14

15
           This matter comes before the Court on defendant’s “Motion for Brady Material” (Dkt. #
16
     203). On May 27, 2005, after hearing oral arguments, the Court GRANTED the motion,
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     holding that (1) the government must disclose information and materials known or that, with the
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     exercise of due diligence, would become known to the government pursuant to Brady v.
19
     Maryland, 373 U.S. 83 (1963), and (2) the Court would conduct an in camera review of
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     probation files and pre-sentence reports to determine if they contain Brady material that must be
21
     disclosed. The Court has conducted its review and provided the relevant material to defendant.
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23
           DATED this 9th day of June, 2005.
24

25                                                   A
                                                     Robert S. Lasnik
26                                                   United States District Judge
27
     ORDER REGARDING MOTION
28   FOR BRADY MATERIAL - 1
